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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                HOT SPRINGS DIVISION

LAUREN SISSON                                                                        PLAINTIFF

v.                                  Case No. 6:14-cv-06090

THE SALVATION ARMY                                                                 DEFENDANT

                                         JUDGMENT

        Before the Court is the Motion for Summary Judgment filed by Defendant, The Salvation

Army. (ECF No. 53). Plaintiff Lauren Sisson filed a Response. (ECF No. 58). The Salvation Army

filed a Reply (ECF No. 64) and Supplemental Authority in Support (ECF No. 68). Also before the

Court is Sisson’s Cross-Motion for Partial Summary Judgment. (ECF No. 50). The Salvation Army

filed a Response (ECF No. 60), and Sisson filed a Reply (ECF No. 63). For the reasons set forth in

the Memorandum Opinion of even date, Sisson’s Motion for Partial Summary Judgment (ECF No.

50) is DENIED, and The Salvation Army’s Motion for Summary Judgment (ECF No. 53) is

GRANTED. Judgment is hereby entered in favor of Defendant, The Salvation Army on all of

Plaintiff’s claims.

        IT IS SO ORDERED, this 3rd day of August, 2016.

                                                            /s/ Susan O. Hickey
                                                            Susan O. Hickey
                                                            United States District Judge
